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     Attorneys for Defendants
9
                                 UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                        (San Francisco)
12
     CENTER FOR BIOLOGICAL                         )
13   DIVERSITY,                                    )
14                                                 ) Case No. 3:21-cv-06323-RS
             Plaintiff,                            )
15                                                 ) STIPULATED SETTLEMENT
                      v.                           ) AGREEMENT AND [PROPOSED] ORDER
16                                                 )
17   U.S FISH AND WILDLIFE SERVICE,                )
     et al.,                                       )
18                                                 )
            Defendants.                            )
19
20
          This Stipulated Settlement Agreement (“Agreement”) is entered into by and between the
21
     Center for Biological Diversity (“Plaintiff”) and the United States Fish and Wildlife Service
22
23   (“FWS”), Martha Williams, in her official capacity as Director of the FWS, and Debra Haaland,
24   in her official capacity as Secretary of the Department of Interior (collectively, “Defendants”),
25
     who, by and through their undersigned counsel, state as follows:
26
27
28


     STIPULATED SETTLEMENT AGREEMENT & [PROPOSED] ORDER                                         1
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1         WHEREAS, on September 25, 2012, Plaintiff petitioned the FWS to list the Clear Lake
2    hitch (Lavinia exilicauda chi) as an endangered or threatened species under the Endangered
3
     Species Act (“ESA”), 16 U.S.C. §§ 1531, et seq.;
4
          WHEREAS, on April 10, 2015, the FWS issued a finding, in accordance with 16 U.S.C.
5
6    § 1533(b)(3)(A), that the petition presented substantial evidence that listing the Clear Lake hitch

7    may be warranted. 80 Fed. Reg. 19,259 (Apr. 10, 2015);
8
          WHEREAS, on December 3, 2020, the FWS issued a finding, in accordance with 16
9
     U.S.C. § 1533(b)(3)(B) (“12-month finding”), in which FWS concluded that listing the Clear
10
     Lake hitch was not warranted under the ESA. 85 Fed. Reg. 78,029 (Dec. 3, 2020);
11
12        WHEREAS, on February 25, 2021, Plaintiff sent Defendants a letter stating its intent to file

13   suit challenging FWS’s not warranted 12-month finding for the Clear Lake hitch, pursuant to 16
14
     U.S.C. § 1540(g)(2);
15
          WHEREAS, on August 17, 2021, Plaintiff filed the above-captioned action challenging the
16
17   not warranted 12-month finding under the ESA and the Administrative Procedure Act (“APA”).

18   ECF No. 1;
19        WHEREAS, on November 24, 2021, Defendants filed the administrative record pertaining
20
     to the not warranted 12-month finding, which it amended on January 20, 2022. ECF Nos. 24, 26;
21
          WHEREAS, on February 4, 2022, Plaintiff filed a motion to supplement the administrative
22
23   record and a motion for summary judgment. ECF Nos. 27, 28;

24          WHEREAS, FWS will re-evaluate the conservation status of the Clear Lake hitch and
25   develop a new 12-month finding, in accordance with 16 U.S.C. § 1533(b)(3)(B), as to whether
26   the Clear Lake hitch warrants listing as an endangered or threatened species;
27        WHEREAS, FWS will issue a “Dear Interested Party” notification letter to various entities,
28   including federal and state agencies, Native American Tribes, non-governmental organizations,


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1    and the scientific community, seeking additional and updated information on topics including
2    juvenile recruitment and water quality and quantity data, to inform FWS’s analysis of the status
3
     of the Clear Lake hitch;
4
          WHEREAS, the Parties, through their authorized representatives, and without any final
5
6    adjudication of the issues of fact or law with respect to Plaintiff’s claims, have negotiated a

7    settlement that they consider to be a just, fair, adequate, and equitable resolution of the disputes
8
     set forth in Plaintiff’s Complaint;
9
          WHEREAS, the Parties agree that settlement of this action in this manner is in the public
10
     interest and is an appropriate way to resolve Plaintiff’s Complaint;
11
12   NOW, THEREFORE, the Parties hereby stipulate and agree as follows:

13      1. On or before January 12, 2025, FWS will submit to the Office of the Federal Register a
14
            new 12-month finding as to whether the listing of the Clear Lake hitch as threatened or
15
            endangered is (a) not warranted; (b) warranted; or (c) warranted but precluded by other
16
17          pending proposals, pursuant to the ESA, 16 U.S.C. § 1533(b)(3)(B).

18      2. The Order entering this Agreement may be modified by the Court upon good cause
19          shown, consistent with the Federal Rules of Civil Procedure, by written stipulation
20
            between the Parties filed with and approved by the Court, or upon written motion filed by
21
            one of the Parties and granted by the Court. In the event that either Party seeks to modify
22
23          the terms of this Agreement, including the deadline specified in Paragraph 1, or in the

24          event of a dispute arising out of or relating to this Agreement, or in the event that either
25          Party believes that the other Party has failed to comply with any term or condition of this
26
            Agreement, the Party seeking the modification, raising the dispute, or seeking
27
            enforcement shall provide the other Party with notice of the claim or modification. The
28


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1         Parties agree that they will meet and confer at the earliest possible time in a good-faith
2         effort to resolve the claim before seeking relief from the Court. If the Parties are unable
3
          to resolve the claim themselves, either Party may seek relief from the Court.
4
       3. In the event that Defendants fail to meet the deadline in Paragraph 1 and have not sought
5
6         to modify this Agreement, Plaintiff’s first remedy shall be a motion to enforce the terms

7         of this Agreement, after following the dispute resolution procedures described above.
8
          This Agreement shall not, in the first instance, be enforceable through a proceeding for
9
          contempt of court.
10
       4. Plaintiff reserves the right to request attorneys’ fees and costs from Defendants pursuant
11
12        to section 11(g) of the ESA, 16 U.S.C. § 1540(g), and Defendants reserve their right to

13        contest Plaintiff’s entitlement to recover fees and the amount of any such fees and do not
14
          waive any objection or defenses that they may have to Plaintiff’s request. The parties
15
          agree to the following schedule for addressing attorneys’ fees and costs:
16
17            a. Within thirty (30) days of the entry of the order by this Court approving this

18                Agreement, Plaintiff will provide to Defendants an itemization of the attorneys’
19                fees and costs it seeks to recover to allow Defendants to assess whether settlement
20
                  of such claims is possible.
21
              b. Within sixty (60) days of Defendants’ receipt of this itemization of the Plaintiff’s
22
23                proposed fees and costs, the parties will notify the Court whether they have

24                reached a settlement as to the payment of the Plaintiff’s attorneys’ fees and costs
25                by Defendants.
26
              c. If the parties have not reached agreement on attorneys’ fees and costs at the time
27
                  they provide this post-receipt notice to the Court, the Plaintiff may move within
28


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1                 thirty (30) days of that date for the Court to award attorneys’ fees and costs.
2                 Briefing and adjudication of the Plaintiff’s motion for attorneys’ fees and costs
3
                  and Defendants’ opposition thereto will then proceed as provided in LCvR 7. In
4
                  the event that Plaintiff files such a motion, Defendants reserve the right to contest
5
6                 any entitlement to and/or the reasonableness of the amount of Plaintiff’s claims to

7                 attorneys’ fees and costs, including the hourly rates and the number of hours
8
                  billed.
9
       5. The parties agree that Plaintiff reserves the right to seek additional fees and costs incurred
10
          subsequent to this Agreement arising from a need to enforce or defend against efforts to
11
12        modify the underlying schedule outlined in Paragraph 2 or for any other continuation of

13        this action. By this Agreement, Defendants do not waive any right to contest fees claimed
14
          by Plaintiff or Plaintiff’s counsel, including hourly rates and the number of hours billed,
15
          in any future litigation or continuation of the present action. Further, this Agreement as to
16
17        attorneys’ fees and costs has no precedential value and shall not be used as evidence in

18        any other attorneys’ fees litigation.
19     6. This Agreement requires only that Defendants take the actions specified in Paragraph 1.
20
          No provision of this Agreement shall be interpreted as, or constitute, a commitment or
21
          requirement that Defendants take action in contravention of the ESA, the APA, or any
22
23        other law or regulation, either substantive or procedural. Nothing in this Agreement shall

24        be construed to limit or modify the discretion accorded to Defendants by the ESA, APA,
25        or general principles of administrative law with respect to the procedures to be followed
26
          in making any determination required herein, or as to the substance of any determinations
27
          made pursuant to Paragraph 1 of the Agreement. To challenge any final determination
28


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1         issued pursuant to Paragraph 1, Plaintiff must file a separate action. Defendants reserve
2         the right to raise any applicable claims or defenses to such challenges.
3
       7. No part of this Agreement shall have precedential value in any litigation or in
4
          representations before any court or forum or in any public setting. No Party shall use this
5
6         Agreement or the terms herein as evidence of what does or does not constitute a

7         reasonable timeline for issuing 12-month findings for any petitioned species.
8
       8. Nothing in this Agreement shall be construed or offered as evidence in any proceeding as
9
          an admission or concession of any wrongdoing, liability, or any issue of fact or law
10
          concerning the claims settled under this Agreement or any similar claims brought in the
11
12        future by any other party. Except as expressly provided in this Agreement, none of the

13        Parties waives or relinquishes any legal rights, claims, or defenses it may have. This
14
          Agreement is executed for the purpose of settling Plaintiff’s Complaint, and nothing
15
          herein shall be construed as precedent having preclusive effect in any other context.
16
17     9. Nothing in this Agreement shall be interpreted as, or shall constitute, a requirement that

18        Defendants are obligated to pay any funds exceeding those available, or take any action
19        in contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other applicable
20
          appropriations law.
21
       10. The Parties agree that this Agreement was negotiated in good faith and that it constitutes
22
23        a settlement of claims that were disputed by the Parties. By entering into this Agreement,

24        none of the Parties waive any legal rights, claims, or defenses except as expressly stated
25        herein. This Agreement contains all of the terms of agreement between the Parties
26
          concerning the Complaint, and is intended to be the final and sole agreement between the
27
          Parties with respect thereto. The Parties agree that any prior or contemporaneous
28


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1           representations or understanding not explicitly contained in this written Agreement,
2           whether written or oral, are of no further legal or equitable force or effect.
3
        11. The undersigned representatives of each Party certify that they are fully authorized by the
4
            Party or Parties they represent to agree to the terms and conditions of this Agreement and
5
6           do hereby agree to the terms herein. Further, each Party, by and through its undersigned

7           representative, represents and warrants that it has the legal power and authority to enter
8
            into this Agreement and bind itself to the terms and conditions contained in this
9
            Agreement.
10
        12. The terms of this Agreement shall become effective upon entry of an Order by the Court
11
12          ratifying this Agreement.

13      13. Upon adoption of this Agreement by the Court, Plaintiff’s Complaint shall be dismissed
14
            with prejudice. Notwithstanding the dismissal of this action, however, the Parties hereby
15
            stipulate and respectfully request that the Court retain jurisdiction to oversee any motion
16
17          for attorneys’ fees and costs, compliance with the terms of this Agreement, and to resolve

18          any motions to modify such terms, until Defendants satisfy their obligations under the
19          Agreement. See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994).
20
     Dated: April 14, 2022                 Respectfully Submitted,
21
                                           TODD KIM, Assistant Attorney General
22                                         SETH M. BARSKY, Section Chief
                                           MEREDITH L. FLAX, Assistant Section Chief
23
24                                         /s/ Taylor A. Mayhall
                                           TAYLOR A. MAYHALL
25                                         Trial Attorney, MN Bar No. 0400172
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26
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27                                         Wildlife & Marine Resources Section
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28                                         Washington, D.C. 20044-7611


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9
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14                               Attorneys for Plaintiff
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     STIPULATED SETTLEMENT AGREEMENT & [PROPOSED] ORDER                     8
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1                                       [PROPOSED] ORDER
2           The Stipulated Settlement Agreement is approved and all Parties shall comply with its
3
     provisions.
4
     IT IS SO ORDERED.
5
6
7
8
     Dated: _________________, 2022.
9
10                                                      ____________________________
                                                        HON. RICHARD SEEBORG
11
                                                        Chief U.S. District Court Judge
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